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 8                                 UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    MAURICE MILES, SR.,                                No. 2:21-cv-01143-TLN-GGH
12                       Petitioner,
13            v.                                         ORDER
14    PEOPLE OF THE STATE
      OFCALIFORNIA, et al.,
15
                         Respondents.
16

17           Petitioner, a state prisoner proceeding pro se, has filed an application for a writ of habeas

18   corpus pursuant to 28 U.S.C. § 2254. The matter was referred to a United States Magistrate Judge

19   pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On October 28, 2021, the magistrate judge filed findings and recommendations herein

21   which were served on Petitioner and which contained notice to Petitioner that any objections to

22   the findings and recommendations were to be filed within fourteen days. (ECF No. 8.) Petitioner

23   has not filed objections to the findings and recommendations.

24           The Court has reviewed the file and finds the findings and recommendations to be

25   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

26   ORDERED that:

27           1. The findings and recommendations filed October 28, 2021, (ECF No. 8) are adopted in

28   full;
                                                        1
     Case 2:21-cv-01143-TLN-DB Document 10 Filed 01/07/22 Page 2 of 2


 1          2. This action is dismissed, without prejudice, for lack of prosecution and for failure to

 2   comply with the Court’s order. See Fed. R. Civ. P. 41(b); Local Rule 110.

 3   DATED: January 6, 2022

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 7                                                  Troy L. Nunley
                                                    United States District Judge
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